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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8
     AMAZON CONTENT SERVICES LLC, a
 9   Delaware corporation, PENGUIN RANDOM                  NO. 2:20-cv-01048-MJP
     HOUSE LLC, a Delaware corporation, LEE
10   CHILD, SYLVIA DAY, JOHN GRISHAM, C.J.                 JOHN GOLDMARK DECLARATION
     LYONS, DOUG PRESTON, JIM                              IN SUPPORT OF MOTION FOR
11   RASENBERGER, T.J. STILES, R.L. STINE,                 DEFAULT JUDGMENT
     MONIQUE TRUONG, SCOTT TUROW,
12   NICHOLAS WEINSTOCK, AND STUART
     WOODS,
13
                               Plaintiffs,
14
            v.
15
     KISS LIBRARY d/b/a KISSLY.NET,
16   WTFFASTSPRING.BID, LIBLY.NET, and
     CHEAP-LIBRARY.COM, RODION
17   VYNNYCHENKO, ARTEM
     BESSHAPOCHNY, and DOES 1-10,
18
                               Defendants.
19

20

21          I, John A. Goldmark, declares as follows:
22          1.      I am a partner at Davis Wright Tremaine LLP (“DWT”) and am counsel for
23   Plaintiff Publishers Amazon Content Services LLC (“Amazon”) and Penguin Random House
24   LLC (“PRH”), and Plaintiff Authors Lee Child, Sylvia Day, John Grisham, C.J. Lyons, Doug
25   Preston, Jim Rasenberger, T.J. Stiles, R.L. Stine, Monique Truong, Scott Turow, Nicholas
26   Weinstock, and Stuart Woods (collectively, “Plaintiffs”) in this matter. I make this declaration
27

                                                                               Davis Wright Tremaine LLP
                                                                                  920 Fifth Avenue, Suite 3300
     GOLDMARK DECLARATION (No. 2:20-cv-01048-MJP)                                  Seattle, WA 98104-1640
                                                                             206.622.3150 main · 206.757.7700 fax
     Page 1
 1   based on personal knowledge, publicly-available databases and information, and records my

 2   firm keeps in the regular course of business, and I could testify competently to the same.

 3                    Defendants Infringed Fifty-Two of Plaintiffs’ Protected Works

 4          2.        Through a ring of related websites, Defendants Kiss Library, Rodion

 5   Vynnychenko, and Artem Besshapochny repeatedly copied, displayed, and/or distributed

 6   Plaintiffs’ copyright-protected works without authorization. As alleged in the Complaint,

 7   Plaintiffs initially identified the following seventeen example registered works that Defendants

 8   infringed, see Compl. ¶ 41(a)-(q) & Ex. D:

 9               i.   A Dark Mind, authored by T. R. Ragan in 2013 with exclusive ebook

10                    distribution rights held by Amazon, registered with the United States Copyright

11                    Office under Registration Number TX0007728631 in 2013, and sold by

12                    Defendants without license at https://kissly.net/book/77131c36d643ec519ca7;

13            ii.     Abducted, authored by T. R. Ragan in 2012 with exclusive ebook distribution

14                    rights held by Amazon, registered with the United States Copyright Office under

15                    Registration Number TX0007670441 in 2013, and sold by Defendants without

16                    license at https://kissly.net/book/26496177a96ffafedb29;

17           iii.     Afterburn, authored by plaintiff Sylvia Day in 2013, registered with the United

18                    States Copyright Office under Registration Number TX0008280509 in 2016,

19                    and sold by Defendants without license at

20                    https://kissly.net/book/884ea6a173f6ef1e51cb;

21           iv.      As Long As She Needs Me: A Novel, authored by plaintiff Nicholas Weinstock in

22                    2000, registered with the United States Copyright Office under Registration

23                    Number TX0005380194 in 2001, and sold by Defendants without license at

24                    https://libly.net/book/0310008cf18e86efaa748a959b1bee70;

25            v.      Blood on the Tracks, authored by Barbara Nickless in 2016 with exclusive

26                    ebook distribution rights held by Amazon, registered with the United States

27                    Copyright Office under Registration Number TX0008334746 in 2016, and sold

                                                                                 Davis Wright Tremaine LLP
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     Page 2
 1                 by Defendants without license at

 2                 https://libly.net/book/ff78f1ab2e22252213b63f663c1ce35c;

 3          vi.    Fight Dirty, authored by plaintiff C.J. Lyons in 2014, registered with the United

 4                 States Copyright Office under Registration Number TX0008076233 in 2015,

 5                 and sold by Defendants without license at

 6                 https://kissly.net/book/70924dc73c193608db30;

 7          vii.   Jesse James: Last Rebel of the Civil War, authored by plaintiff T.J. Stiles in

 8                 2002, registered with the United States Copyright Office under Registration

 9                 Number TX0005703845 in 2003, and sold by Defendants without license at

10                 https://cheap-library.com/book/45a5e2748d39bf66d745ec5d524a327c;

11         viii.   My Sister’s Grave, authored by Robert Dugoni in 2014 with exclusive ebook

12                 distribution rights held by Amazon, registered with the United States Copyright

13                 Office under Registration Number TX0008009209 in 2015, and sold by

14                 Defendants without license at https://kissly.net/book/f20671f38204d4377d3a;

15          ix.    Persuader, authored by plaintiff Lee Child in 2002, registered with the United

16                 States Copyright Office under Registration Number TX0006919613 in 2008,

17                 and sold by Defendants without license at

18                 https://libly.net/book/269e66ebcd734ca6b01fac34637c8404;

19           x.    Red Rain: A Novel, authored by plaintiff R.L. Stine in 2012, registered with the

20                 United States Copyright Office under Registration Number TX0007603027 in

21                 2012, and sold by Defendants without license at

22                 https://kissly.net/book/9f40292160d1e5ec973a;

23          xi.    Short Straw, authored by plaintiff Stuart Woods in 2006, registered with the

24                 United States Copyright Office under Registration Number TX0006465649 in

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     Page 3
 1                 2006, and sold by Defendants without license at

 2                 https://libly.net/book/004468203eb63a73ef7d0a9b7b51c921;

 3          xii.   The Book of Salt, authored by plaintiff Monique Truong in 2003, registered with

 4                 the United States Copyright Office under Registration Number TX0005745355

 5                 in 2003, and sold by Defendants without license at

 6                 https://libly.net/book/fcc7849251aa267dabe39d8c213d426c;

 7         xiii.   The Brilliant Disaster: JFK, Castro, and America’s Doomed Invasion of Cuba’s

 8                 Bay of Pigs, authored by plaintiff Jim Rasenberger in 2011, registered with the

 9                 United States Copyright Office under Registration Number TX0007373794 in

10                 2011, and sold by Defendants without license at

11                 https://kissly.net/book/926424dfcc894f32e522;

12         xiv.    The Burden of Proof, authored by plaintiff Scott Turow in 1990, registered with

13                 the United States Copyright Office under Registration Number TX0002844794

14                 in 1990, and sold by Defendants without license at

15                 https://libly.net/book/1f956ace7c3a059de2806d64f5b697ff;

16          xv.    The Litigators, authored by plaintiff John Grisham in 2011, registered with the

17                 United States Copyright Office under Registration Number TX0007494080 in

18                 2012, and sold by Defendants without license at

19                 https://kissly.net/book/f5c9eb68224569c4a5e6;

20         xvi.    Tyrannosaur Canyon, authored by plaintiff Doug Preston in 2004, registered

21                 with the United States Copyright Office under Registration Number

22                 TX0006206315 in 2005, and sold by Defendants without license at

23                 https://libly.net/book/9f4390dc6a171679e50029d5727b7e23; and

24        xvii.    You Are Not Small, authored by Anna Kang and illustrated by Christopher

25                 Weyant in 2014 with exclusive ebook distribution rights held by Amazon,

26                 registered with the United States Copyright Office under Registration Numbers

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     Page 4
 1                  TX0007970793 and TX0007970795 in 2015, and sold by Defendants without

 2                  license at https://kissly.net/book/29cfeb176b308057ad2c.

 3   3.     In addition to the above example works, Plaintiffs’ continued investigation uncovered

 4   another thirty-five additional registered works by the Plaintiff Authors that Defendants copied,

 5   displayed, and/or distributed without authorization:

 6             i.   Custer’s Trials: A Life on the Frontier of a New America, authored by plaintiff

 7                  T.J. Stiles in 2015, registered with the United States Copyright Office under

 8                  Registration Number TX0008229466 in 2016, and sold by Defendants without

 9                  license at https://kissly.net/book/8bcdb4ce9f29c4998958;

10            ii.   The First Tycoon: The Epic Life of Cornelius Vanderbilt, authored by plaintiff

11                  T.J. Stiles in 2008, registered with the United States Copyright Office under

12                  Registration Number TX0006942463 in 2009, and sold by Defendants without

13                  license at https://libly.net/book/c6dd6b742bd226f9ba846ee650b717b6;

14           iii.   Hollow Bones, authored by plaintiff C.J. Lyons in 2013, registered with the

15                  United States Copyright Office under Registration Number TX0007754956 in

16                  2013, and sold by Defendants without license at

17                  https://kissly.net/book/07bebedbdb1e57e27ee1;

18           iv.    Lucidity, authored by plaintiff C.J. Lyons in 2010, registered with the United

19                  States Copyright Office under Registration Number TX0007610805 in 2012,

20                  and sold by Defendants without license at

21                  https://kissly.net/book/46c2536b25b21ce82bc2;

22            v.    One L: The Turbulent True Story of a First Year at Harvard Law School,

23                  authored by plaintiff Scott Turow in 1988, registered with the United States

24                  Copyright Office under Registration Number TX0002573137 in 1989, and sold

25                  by Defendants without license at https://kissly.net/book/a9ec2cb93926ec1ee42a;

26           vi.    Carnal Curiosity, authored by plaintiff Scott Turow in 2013, registered with the

27                  United States Copyright Office under Registration Number TX0007909225 in

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     Page 5
 1                 2014, and sold by Defendants without license at

 2                 https://kissly.net/book/8692da620e5f04e97a95;

 3          vii.   Chiefs: A Novel, authored by plaintiff Stuart Woods in 1981, registered with the

 4                 United States Copyright Office under Registration Number TX0000719822 in

 5                 1981, and sold by Defendants without license at

 6                 https://kissly.net/book/34479515ed7424ce30d3;

 7         viii.   Collateral Damage, authored by plaintiff Stuart Woods in 2013, registered with

 8                 the United States Copyright Office under Registration Number TX0007684917

 9                 in 2013, and sold by Defendants without license at

10                 https://kissly.net/book/06655aa180290487631a;

11          ix.    Cut and Thrust, authored by plaintiff Stuart Woods in 2013, registered with the

12                 United States Copyright Office under Registration Number TX0007943843 in

13                 2014, and sold by Defendants without license at

14                 https://kissly.net/book/2c24ee7e2e3a4dbee83d;

15           x.    D.C. Dead, authored by plaintiff Stuart Woods in 2011, registered with the

16                 United States Copyright Office under Registration Number TX0007478430 in

17                 2012, and sold by Defendants without license at

18                 https://kissly.net/book/69d391391cd26b1ed496;

19          xi.    Foreign Affairs, authored by plaintiff Stuart Woods in 2015, registered with the

20                 United States Copyright Office under Registration Number TX0008233410 in

21                 2015, and sold by Defendants without license at

22                 https://kissly.net/book/46597dc15d2b28ef46fd;

23          xii.   Hothouse Orchid, authored by plaintiff Stuart Woods in 2009, registered with

24                 the United States Copyright Office under Registration Number TX0007056077

25                 in 2009, and sold by Defendants without license at

26                 https://kissly.net/book/ebccc5f7b4cad2e1f6fc;

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     Page 6
 1         xiii.   Insatiable Appetites, authored by plaintiff Stuart Woods in 2014, registered with

 2                 the United States Copyright Office under Registration Number copyright

 3                 number TX0008027684 in 2015, and sold by Defendants without license at

 4                 https://kissly.net/book/86bacbfc73fd0957cb86;

 5         xiv.    Iron Orchid, authored by plaintiff Stuart Woods in 2005, registered with the

 6                 United States Copyright Office under Registration Number TX0006295537 in

 7                 2005, and sold by Defendants without license at

 8                 https://kissly.net/book/3d2a5992471bca95ec5c;

 9          xv.    Orchid Beach, authored by plaintiff Stuart Woods in 1998, registered with the

10                 United States Copyright Office under Registration Number TX0004894963 in

11                 1998, and sold by Defendants without license at

12                 https://kissly.net/book/aa446746eaba735031e3;

13         xvi.    Orchid Blues, authored by plaintiff Stuart Woods in 2001, registered with the

14                 United States Copyright Office under Registration Number TX0005465649 in

15                 2001, and sold by Defendants without license at

16                 https://kissly.net/book/3d36076655adf8b8485f;

17        xvii.    Palindrome, authored by plaintiff Stuart Woods in 1990, registered with the

18                 United States Copyright Office under Registration Number TX0003038167 in

19                 1991, and sold by Defendants without license at

20                 https://kissly.net/book/19d38436b95e03f1f080;

21        xviii.   Santa Fe Dead, authored by plaintiff Stuart Woods in 2007, registered with the

22                 United States Copyright Office under Registration Number TX0007172693 in

23                 2008, and sold by Defendants without license at

24                 https://kissly.net/book/1e57255b6d54338912ac;

25         xix.    Santa Fe Edge, authored by plaintiff Stuart Woods in 2010, registered with the

26                 United States Copyright Office under Registration Number TX0007328233 in

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     Page 7
 1                 2010, and sold by Defendants without license at

 2                 https://kissly.net/book/ce9cb274cd97a55992a5;

 3          xx.    Santa Fe Rules, authored by plaintiff Stuart Woods in 1991, registered with the

 4                 United States Copyright Office under Registration Number TX0003367425 in

 5                 1992, and sold by Defendants without license at

 6                 https://kissly.net/book/aaaf87de7b33f24638a9;

 7         xxi.    Shoot Him If He Runs, authored by plaintiff Stuart Woods in 2006, registered

 8                 with the United States Copyright Office under Registration Number

 9                 TX0006903331 in 2008, and sold by Defendants without license at

10                 https://kissly.net/book/332b988109a79c77c271;

11        xxii.    Two Dollar Bill, authored by plaintiff Stuart Woods in 2004, registered with the

12                 United States Copyright Office under Registration Number TX0006164181 in

13                 2005, and sold by Defendants without license at

14                 https://kissly.net/book/533cfcd05435786780ec;

15        xxiii.   Unintended Consequences, authored by plaintiff Stuart Woods in 2012,

16                 registered with the United States Copyright Office under Registration Number

17                 TX0007739500 in 2013, and sold by Defendants without license at

18                 https://kissly.net/book/a531a091712594d217f7;

19        xxiv.    Unnatural Acts, authored by plaintiff Stuart Woods in 2011, registered with the

20                 United States Copyright Office under Registration Number TX0007529029 in

21                 2012, and sold by Defendants without license at

22                 https://kissly.net/book/8692da620e5f04e97a95;

23         xxv.    Swimming to Catalina, authored by plaintiff Stuart Woods in 1997, registered

24                 with the United States Copyright Office under Registration Number copyright

25                 number TX0004751854 in 1998, and sold by Defendants without license at

26                 https://kissly.net/book/332b988109a79c77c271;

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     Page 8
 1        xxvi.    Dead Eyes, authored by plaintiff Stuart Woods in 1994, registered with the

 2                 United States Copyright Office under Registration Number TX0003864784 in

 3                 1994, and sold by Defendants without license at

 4                 https://kissly.net/book/3722b74525b7003b4dd4;

 5       xxvii.    Dead in the Water: A Novel, authored by plaintiff Stuart Woods in 1997,

 6                 registered with the United States Copyright Office under Registration Number

 7                 TX0004579095 in 1997, and sold by Defendants without license at

 8                 https://kissly.net/book/1c0d6044681ec5e13fb3;

 9       xxviii.   Bitter in the Mouth, authored by plaintiff Monique Truong in 2010, registered

10                 with the United States Copyright Office under Registration Number

11                 TX0007299541 in 2010, and sold by Defendants without license at

12                 https://kissly.net/book/3a276d21e60ef10db122;

13        xxix.    Gray Mountain: A Novel, authored by plaintiff John Grisham in 2014, registered

14                 with the United States Copyright Office under Registration Number

15                 TX0007964170 in 2015, and sold by Defendants without license at

16                 https://kissly.net/book/2bfd6bfabb170436eb91;

17         xxx.    Rogue Lawyer, authored by plaintiff John Grisham in 2015, registered with the

18                 United States Copyright Office under Registration Number TX0008229453 in

19                 2016, and sold by Defendants without license at

20                 https://kissly.net/book/b7d38fd29b1ac7ac69ac;

21        xxxi.    Sycamore Row, authored by plaintiff John Grisham in 2012, registered with the

22                 United States Copyright Office under Registration Number TX0007791381 in

23                 2013), and sold by Defendants without license at

24                 https://kissly.net/book/3097a68b013581243a1e;

25       xxxii.    Theodore Boone: The Abduction, authored by plaintiff John Grisham in 2010,

26                 registered with the United States Copyright Office under Registration Number

27

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     Page 9
 1                  TX0007413142 in 2011, and sold by Defendants without license at

 2                  https://kissly.net/book/88b594378597563b28a0;

 3        xxxiii.   Theodore Boone: The Accused, authored by plaintiff John Grisham in 2011,

 4                  registered with the United States Copyright Office under Registration Number

 5                  TX0007558149 in 2012, and sold by Defendants without license at

 6                  https://kissly.net/book/b347872e0bc1aa74f35d;

 7        xxxiv.    Theodore Boone: The Fugitive, authored by plaintiff John Grisham in 2014,

 8                  registered with the United States Copyright Office under Registration Number

 9                  TX0008293865 in 2016, and sold by Defendants without license at

10                  https://kissly.net/book/39af6434fb6f33e63321; and

11        xxxv.     Jennie, authored by plaintiff Doug Preston in 1994, registered with the United

12                  States Copyright Office under Registration Number TX0003921292 in 1994,

13                  and sold by Defendants without license at

14                  https://kissly.net/book/e1e20503bf4387ab2902.

15          4.      Attached as Exhibit A is a true and correct summary of Plaintiffs’ fifty-two

16   registered works infringed by Defendants, consisting of the seventeen example works identified

17   in the Complaint plus the thirty-five additional works uncovered in continued investigation.

18                          Defendants Engaged in Deception and Spoliation

19          5.      Plaintiffs’ investigation revealed that Defendants employed multiple fake names

20   and addresses in operating their ring of websites, including by obscuring the actual registrant(s)

21   and website operator(s) of those sites. See Compl. ¶ 38 (“[T]he contact information provided

22   by Defendants on their websites are intentionally misleading and false, intended to obscure

23   their true identities, contact information, and activities.”). In addition to the fake information

24   detailed in the Complaint, see id. ¶ 38(a)-(d), Plaintiffs’ investigation uncovered further

25   examples of Defendants’ use of false and deceptive contact information, particularly in

26   registering the various website domains they used to operate their piracy scheme.

27

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     Page 10
 1          6.      Beginning with the original kisslibrary.com, Defendants provided false

 2   addresses in registering the website. For example, Defendant Vynnychenko listed Milutenka

 3   3, Apt. 1, Kiev, Ukraine 02156 as his address in registering kisslibary.com. See Dkt. 24 Ex. D

 4   at 38-39. But Vynnychenko could not be found there for contact or service, and notably, he

 5   immediately deregistered that address when Plaintiffs attempted service for this suit, and

 6   registered a different (also false) address with the Ukrainian government. See Dkt. 25 at 2-3;

 7   Dkt. 26 ¶ 8. Ultimately, after hiring private investigators in Ukraine, Plaintiffs confirmed that

 8   both prior addresses provided by Vynnychenko were inaccurate (finding no evidence he ever

 9   resided at either address), and finally uncovered his true address: 13 Demiivska Str., Apartment

10   83, Kyiv, Ukraine 03039. See Dkt. 29 ¶¶ 2-5; Dkt. 31 at 1-2. Similarly, while Defendant

11   Besshapochny transferred kisslibrary.com’s registration to his control at a Kiev address in

12   October 2017 using the redoxyzo@gmail.com account, he then used his xpdf.bid-related email

13   address to re-register kisslibrary.com’s website in April 2018 at a non-existent Kentucky

14   address with a New York zip code: 2772 50th Street, Edmonton, KY 12772. See Dkt. 24 Ex.

15   D at 39-41.

16          7.      In addition to the initial kisslibrary.com sites, nonparty productions by domain

17   registrars and service providers show that Defendants continued their pattern and practice of

18   using fake information with other sites connected to and supporting their scheme. For example,

19   Defendant Vynnychenko registered the bookpdfs.com domain under the false Milutenko

20   address in February 2017. And when Defendants reregistered that domain in December 2017

21   using their redoxyzo@gmail.com email address, they fraudulently listed the registrant as

22   “Charles J. Philbrook” at a non-existent address: 2129 Bolman Court, Springfield, IL 62707.

23   A true and correct copy of those public domain registrations is attached as Exhibit B.

24   Additionally, Defendant Besshapochny provided a non-existent address, Ahmatovoi 12, Kyiv,

25   Ukraine 02156, when registering the xpdf.com domain used to service the kisslibrary.com

26   domain. A true and correct copy of business records showing user information for

27

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     Page 11
 1   Besshapochny’s xpdf.com registration produced by domain registrar and nonparty NameCheap

 2   Inc. is attached as Exhibit C.

 3          8.      After filing their Complaint, which identified multiple websites distributing

 4   Plaintiffs’ works or redirecting users to those infringing sites, see Compl. ¶ 38(a)-(d)

 5   (kisslibrary.com, kisslibrary.net, kissly.net, libly.net, cheap-library.com, wtffastspring.bid,

 6   kisslibraryemails.com); Dkt. 4 ¶ 9, Plaintiffs obtained records related to those websites through

 7   expedited discovery authorized by the Court. See Dkt. 10 at 7. Beyond the routine use of

 8   deceptive contact information, Plaintiffs’ investigation and nonparty discovery uncovered

 9   evidence that Defendants had requested that their service providers delete records relating to

10   Defendants in the days after Plaintiffs filed their suit. For example, shortly after this suit was

11   filed, Defendants attempted to delete all financial records from their payment processor,

12   FastSpring. As shown by FastSpring’s business record and log of communications for the

13   serviced websites, Defendants “request[ed] immediate erasure of personal data concerning me

14   according to Article 17 GDPR,” as well as the removal of their “merchant account and eras[ure

15   of] all personal data concerning me” following the filing of Plaintiffs’ July 2020 lawsuit. A

16   true and correct copy of FastSpring’s business record produced in discovery is attached as

17   Exhibit D (also showing notice of “piracy complaints from authors” by FastSpring to

18   Defendants in September 2019).

19          9.      Shortly after the Complaint was filed in July 2020, Defendants also sent

20   multiple requests through different service emails to Cloudflare, a nonparty website service

21   provider, attempting to delete and purge Cloudflare’s business records related to Defendants’

22   websites. These requests appear as a “ZONE_DELETE” or “ZONE_PURGE” event request in

23   Cloudflare’s log file. A true and correct copy of Cloudflare’s business record for user

24   15257449 (dmitriy.chernyay@gmail.com) attempting to delete information related to

25   Defendants’ websites (libly.net, 2pdfs.com) is attached as Exhibit E. A true and correct copy

26   of Cloudflare’s business record for user 4550270 (redoxyzo@gmail.com) attempting to delete

27   information related to fourteen of Defendants’ websites is attached as Exhibit F. A true and

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     Page 12
 1   correct copy of Cloudflare’s business record for user 9163573 (robert.teifeld@gmail.com)

 2   attempting to delete information related to six of Defendants’ websites is attached as Exhibit G.

 3   A true and correct copy of Cloudflare’s business record for user 4258144

 4   (sofleadecen1987@mail.ru) attempting to delete information related to kissly.net is attached as

 5   Exhibit H.

 6          10.     Although unsuccessful as to some third-party service providers, Defendants

 7   were able to delete and spoliate evidence regarding their primary email addresses that serviced

 8   the Kiss Library scheme: redoxyzo@gmail.com, ikmytz@gmail.com, and roddiku@gmail.com.

 9   A true and correct copy of Google’s correspondence confirming that Defendants had “deleted

10   and purged” these accounts is attached as Exhibit I. Additionally, domain registrar Zoho

11   Corporation confirmed that Defendants successfully deleted their records possessed by that

12   registrar and related to the Kiss Library websites on July 9, 2020—just two days after Plaintiffs

13   filed their complaint. A true and correct copy of Zoho Corporation’s correspondence

14   confirming the deletion of data and associated dates involving kisslibrary.com,

15   kisslibraryemails.com, kisslibrary.net, kissly.net, libly.net, cheap-library.com, and other

16   associated websites is attached as Exhibit J.

17           Defendants Operated a Ring of Sites in Connection with the Piracy Scheme

18          11.     Through Court-authorized expedited discovery, Plaintiffs investigated and

19   uncovered additional obfuscated websites related to Defendants’ scheme. As a result, Plaintiffs

20   enjoined those additional sites in accordance with the Court’s Temporary Restraining Order.

21   See Dkt. 12 ¶ 6 (identifying additional enjoined sites connected to the scheme, including

22   books.coffee, getebooks.net, booksgreatchoice.com, maximumbook.org, bsebooks.com,

23   bookspc.com, crucialbooks.com, osebooks.com, wordered.com, thekissly.net,

24   kisslibraryemails.net, quabook.com, luckybooks.online). By way of example, nonparty

25   discovery revealed Defendants’ operation of luckybooks.online, another piracy site involved in

26   the scheme that distributed unauthorized copies of Plaintiffs’ works. A true and correct copy of

27   a screenshot of some of Plaintiff Grisham’s works appearing on the luckybooks.online website

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 1   in August 2020 is attached as Exhibit K. Following entry of the Court’s August 27, 2020

 2   Preliminary Injunction Order, see Dkt. 15, Plaintiffs further uncovered and investigated other

 3   websites connected to Defendants’ copyright piracy schemes, including kissanime.com,

 4   torrentsmoviesfree.com, kissanime.ru, kissmanga.com, bookpdfs.com, xpdf.bid, and

 5   2pdfs.com.

 6          12.     After continued nonparty discovery, Plaintiffs uncovered additional websites

 7   connected to Defendants’ scheme that displayed and offered unauthorized copies of Plaintiffs’

 8   works for sale. Migrating away from the Kiss Library style and associated monikers,

 9   Defendants engaged in a similar and continuing scheme under the SmashBook moniker.

10   Compare https://web.archive.org/web/20171020201154/http:/luckybooks.online/about

11   (luckybooks.online in 2017 as a Kiss Library mirror), with

12   https://web.archive.org/web/20200512130417/https://luckybooks.online/dmca

13   (luckybooks.online in 2020 as a SmashBook mirror). Those associated SmashBook sites,

14   which Plaintiffs have now enjoined or attempted to enjoin through the Court’s Order, included

15   smashbook.site, cybook.club, oregano.pro, dexcom.pro, lumeo.pro, keyhunter.pro,

16   zenlibrary.top, and lumintu.club. Plaintiffs’ investigation revealed that these SmashBook sites,

17   like the earlier enjoined Kissly sites, were displaying and offering for sale unauthorized copies

18   of Plaintiffs’ works. By way of example, a true and correct copy of a screenshot of some of

19   Plaintiff Grisham’s works appearing on the oregano.pro SmashBook website in October 2021

20   is attached as Exhibit L.

21          13.     Throughout the course of this scheme, Plaintiffs have uncovered the following

22   email addresses that have operated or serviced Defendants’ websites or third party services in

23   support of those sites: roddiku@gmail.com, sofleadecen1987@mail.ru, kmytz@yandex.ru,

24   redoxyzo@gmail.com, jjpetruninas@gmail.com, robert.teifeld@gmail.com,

25   ikmytz@gmail.com, hellodorld@protonmail.com, nyakambinnickson@gmail.com,

26   ravawebsite@gmail.com, tema@xpdf.bid, hgurm80@gmail.com, besshapochnyy@mail.ru,

27   amankwavictoria11@gmail.com, and dmitriy.chernyay@gmail.com. In addition to these email

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 1   addresses, third-party productions obtained by Plaintiffs show that they routinely used others’

 2   names, financial accounts, and addresses around the world, including in Ukraine, Poland,

 3   Lithuania, Russia, and Canada.

 4                                            Notice to Defendants

 5          14.      Plaintiffs effected proper service and notice on Defendant Kiss Library through

 6   registered email service as authorized by the Court, and effected proper service and notice on

 7   individual Defendants Besshapochny and Vynnychenko in Ukraine in accordance with local

 8   law and the Hauge Convention. See Dkt. 34 at 2-3.

 9          15.      On October 19, 2021, Plaintiffs also sent the Clerk’s Notice of Default through

10   registered mail to Defendants’ following addresses in Ukraine, which were established as

11   Defendants’ proper service addresses during confirmation of service proceedings in accordance

12   with Ukrainian law and the Hague Convention.

13              Rodion Vynnychenko                                 Artem Besshapochny
            13 Demiivska Str., Apartment 83                    70 Teatralna Str., Apartment 6
14               Kyiv, Ukraine 03039                              Kharkiv, Ukraine 63011
15          16.      Despite having been properly served and otherwise demonstrating awareness of
16   these proceedings, see Dkt. 19, Defendants have not answered or appeared to defend the claims
17   against them.
18
19          I declare under penalty of perjury that the foregoing is true and correct.
20          Executed at Seattle, Washington, this 8th day of November, 2021.
21

22
                                                   By: s/ John A. Goldmark
23                                                     John A. Goldmark
24

25

26

27

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